Case 2:04-cr-20342-SH|\/| Document 29 Filed 06/03/05 Page 1 of 2 Page|D 38

IN THE UNITED sTATEs DISTRICT coURT F"'ED B'*`
FoR THE wEsTERN DISTRICT oF TENNESSEE '
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U'NITED STATES OF AMERICA, W[`; C)§° TN L,¢EMPHP
. . .-` _, § ' \.'}

Plaintiff,

vs. CR. NO. 04-20342-Ma

CHRISTOPHER HOWARD,

~._/`,\¢\_/-__¢\_/~.,¢~__/\_,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This Cause came on for a report date on April 21, 2005.
Defense counsel requested a Continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the continued mental treatment of defendant.

The Court granted the request and Continued the trial
date to the rotation docket beginning August l, 2005 at 9:30 a.m.,
with a report date of Friday, July 22, 2005 at 2:00 p.m.

The period from April 21, 2005 through August 12, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3161(h)(l)(A)
because the interests of justice in allowing for additional time to
prepare and the mental treatment of the defendant outweigh the need
for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

M%/z/M___,

SAMUEL H. MAYS, JR.

"h\s document entered on the docket YD_H;F§U“§T'B°FES DISTRICT JUDGE
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39

 

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This notice confirms a copy of the document docketed as number 29 in
case 2:04-CR-20342 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

